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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                           LAKE CHARLES DIVISION


T'MICHAEL JONES #62610-019                      CASE NO. 2:19-CV-01369 SEC P

VERSUS                                          JUDGE JAMES D. CAIN, JR.

FEDERAL BUREAU OF PRISONS                       MAGISTRATE JUDGE KAY


                                     JUDGMENT

      Before the court is a Report and Recommendation [doc. 17] of the Magistrate Judge,

recommending that petitioner’s petition for writ of habeas corpus under 28 U.S.C. § 2241

be denied. Defendant has not filed objections to the Report and Recommendation and his

time for doing so has passed. The court has conducted an independent review of the record

and finds that the Report and Recommendation is correct under applicable law.

Accordingly,

      IT IS ORDERED that the Report and Recommendation [doc. 17] be ADOPTED

and that this matter be DENIED and DISMISSED WITH PREJUDICE.

      THUS DONE AND SIGNED in Chambers, on this 14th day of January, 2021.



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                              JAMES D. CAIN, JR.
                       UNITED STATES DISTRICT JUDGE
